                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                           )
                  Plaintiff,                         )
                                                     )
 vs.                                                 )     CASE NO. DNCW3:94CR30-02
                                                     )     (Financial Litigation Unit)
 ANDRE CARDELL KING,                                 )
                Defendant.                           )

                            ORDER TO AUTHORIZE PAYMENT
                            FROM INMATE TRUST ACCOUNT

       Upon motion of the United States for the reasons stated therein and for good cause shown,

it is ORDERED that the Motion of United States of America to Authorize Payment from Inmate

Trust Account (Docket No. 200) is GRANTED.

       It is, therefore, ORDERED, ADJUDGED and DECREED that:

       1.      The Bureau of Prisons is authorized to turnover to the Clerk of Court, and the Clerk

of Court shall accept, funds currently held in the trust account for the following inmate:

               Andre Cardell King
               Register Number: 10970-058

       2.      The Clerk shall apply these funds as payment for the criminal monetary penalties

owed by the defendant in this case.




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